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 1   [Parties and Counsel Listed on Signature Pages]
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 7
                                      UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                                  MDL No. 3047
10    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS          Case No. 4:22-md-03047-YGR (PHK)
11    LIABILITY LITIGATION
                                                  AGENDA AND JOINT STATEMENT
12    This Document Relates To:                   FOR MAY 17, 2024, CASE
13                                                MANAGEMENT CONFERENCE
      ALL ACTIONS
14                                                Judge: Hon. Yvonne Gonzalez Rogers

15                                                               Magistrate Judge: Hon. Peter H. Kang
16

17          Pursuant to Case Management Order (“CMO”) No. 1 (ECF 75), the Parties submit this agenda
18   and joint statement in advance of the May 17, 2024, Case Management Conference (“CMC”).
19   I. Update on Pending Motions
20
        A. Motion to Dismiss Personal Injury Plaintiffs’ Claims Against Mark Zuckerberg
21          On April 15, 2024, the Court issued an order granting Defendant Mark Zuckerberg’s motion to
22   dismiss 25 Personal Injury (“PI”) Plaintiffs’ claims against him in his individual capacity, with leave to
23   amend (ECF 518). See ECF 753. On April 26, 2024, pursuant to Case Management Order No. 13, ECF
24   780 (“CMO 13”), these 25 PI Plaintiffs filed a consolidated addendum to their complaints. See ECF
25   794. Defendant’s motion to dismiss is due on May 10, 2024, the PI Plaintiffs’ opposition is due on May
26   23, 2024, and Defendant’s reply is due on May 30, 2024. See CMO 13 (ECF 780).
27

28
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 1       B. Motion to Dismiss Certain Non-Priority Claims of PI Plaintiffs
 2          On December 22, 2023, Defendants moved to dismiss the PI Plaintiffs’ remaining “non-priority

 3   claims” (Counts 5, 12, 14, 16–18) asserted in the PI Plaintiffs’ Second Amended Master Complaint. See

 4   ECF 516. The PI Plaintiffs filed their opposition on February 5, 2024. See ECF 597. Defendants filed

 5   their reply on February 26, 2024. See ECF 644. The Defendants and PI Plaintiffs will be prepared to

 6   argue this motion at the June 21, 2024, hearing. See ECF 728, CMO No. 12 at 6 (setting hearing).

 7       C. Motion to Dismiss AG Complaints, Consumer Protection Claims, and Misrepresentation
            Claims
 8
            On April 19, 2024, the Court heard argument on Meta’s motion to dismiss the Multistate
 9
     Attorneys General (“AGs”) Complaint, the Florida AG’s Complaint, and the PI Plaintiffs’ Consumer
10
     Protection and Misrepresentation Claims (Counts 7-9). See ECF 517.1 Florida filed an Amended
11
     Complaint on April 29, 2024 (see Case 4:23-cv-05885-YGR, ECF 23) and a Lexecon objection on April
12
     25, 2024 (see Case 4:23-cv-05885-YGR, ECF 22).
13

14       D. Motion to Dismiss Claims Asserted in Certain PI Plaintiffs’ SFCs Against Snap
            On January 12, 2024, Defendant Snap moved to dismiss claims under 18 U.S.C. §§ 2252 and
15
     2252A (also known as the “Identified Counts”) asserted in certain PI Plaintiffs’ amended Short-Form
16
     Complaints pursuant to CMO No. 7 (ECF 479). See ECF 533. Those PI Plaintiffs filed their opposition
17
     on February 5, 2024. ECF 598. Defendant Snap filed its reply on February 15, 2024. ECF 613. The PI
18
     Plaintiffs and Snap will be prepared to argue this motion at the June 21, 2024, hearing. See ECF 728,
19
     CMO No. 12 at 6 (setting hearing).
20

21       E. Motion to Dismiss School District and Local Government Entity Plaintiffs’ Master
            Complaint
22
            On February 5, 2024, Defendants moved to dismiss the claims asserted in the School District and
23
     Local Government Entity (“SD/GE”) Plaintiffs’ Master Complaint (ECF 504). See ECF 601. The
24
     SD/GE Plaintiffs filed their opposition on March 4, 2024. See ECF 668. Defendants filed their reply on
25
26   1
      Defendants YouTube, Snap, and TikTok joined Meta’s motion to dismiss Count 7 of the PI Plaintiffs’
27   Amended Master Complaint. See ECF 519. The AGs and PI Plaintiffs opposed the motions. See ECF
     599;600).
28                                                      2
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 1
     March 25, 2024. See ECF 723. The Defendants and SD/GE Plaintiffs will be prepared to argue this
 2
     motion during the May 17, 2024, CMC. See ECF 728, CMO No. 12 at 6 (setting hearing for May 9);
 3
     ECF 797 (continuing hearing to May 17).
 4
            Pursuant to CMO No. 13 (at 5), Defendants and the SD/GE Plaintiffs are meeting and conferring
 5
     as to the appropriate legal standards applicable in Utah and Arizona and, should they agree, will file a
 6
     joint stipulation on the docket. See CMO 13 (ECF 780).
 7
     II. Status Report on Bellwether Selection and Plaintiff Fact Sheets
 8
            For an abundance of clarity, all references to Plaintiffs throughout Section II. refer to the PI/SD
 9
     Plaintiffs or subgroups thereof.
10
            A.      Personal Injury Plaintiffs
11
            Bellwether Selection. The PI/SD Plaintiffs and Defendants submitted their PI and SD bellwether
12
     selections on April 15, 2024. The PI Plaintiffs subsequently dismissed with prejudice or asserted
13
     Lexecon objections in three of Defendants’ six PI picks. By May 17, 2024, all PI Plaintiffs must assert
14
     their position on Lexecon, with Defendants then permitted to select three replacement PI bellwether
15
     cases from the remaining cases by May 22, 2024. CMO 13 (ECF 780) at 4.
16
            Plaintiff Fact Sheets. Pursuant to the Court’s April 10, 2024 Order (ECF 748), 45 PI Plaintiffs
17
     were required to provide PFSs by May 8, 2024. Of those 45 Plaintiffs, 24 Plaintiffs failed to submit a
18
     PFS. Plaintiffs note that the large majority of the 24 PI Plaintiffs with outstanding PFSs have informed
19
     Defendants of the status of their efforts to complete them, advising that in many instances their clients
20
     have not been reachable. Defendants intend to move the Court to dismiss those 24 cases pursuant to
21
     Rule 41(b).
22
            Defendants’ Further Position:
23
            On May 3, Defendants learned that a fourth PI bellwether case selected by Defendants would be
24
     unilaterally removed from the bellwether pool when counsel for bellwether Plaintiff B.S. o/b/o D.D.
25
     informed Defendants that D.D. intends to voluntarily dismiss his case with prejudice, offering no
26
     explanation for his failure to do so earlier, before the Court adopted his case as part of the bellwether
27
     pool in CMO 13. See Exhibit A.
28                                                        3
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 1
            Through these dismissals and Lexecon objections, Plaintiffs have stricken 67% of Defendants’
 2
     bellwether discovery selections. See B.S. o/b/o D.D. v. Meta Platforms, Inc., et al., No. 4:22-cv-06495;
 3
     Jonathan Casteel v. Meta Platforms, Inc., et al., No. 4:22-cv-06423; Klinten Craig v. Meta Platforms,
 4
     Inc., et al., No. 4:22-cv-05890; Dymand McNeal v. Meta Platforms, Inc., et al., No. 4:23-cv-01092. In
 5
     so doing, Plaintiffs have removed all male plaintiffs from the pool – a factor this Court considered in
 6
     CMO 13.2
 7
            Defendants should not be unfairly prejudiced by these dismissals, Lexecon objections, and other
 8
     tactics. Defendants will make their three replacement bellwether picks by the May 22 deadline ordered
 9
     in CMO 13, but further request the following:
10
                1. To discourage similar tactics, Defendants ask that the Court provide Defendants with one
11
                    additional strike of cases from the bellwether discovery pool;3
12
                2. Defendants request that they be permitted to begin discovery on their replacement picks
13
                    immediately upon selection on May 22;4 and
14
                3. Defendants request that their deadline to complete fact discovery of all PI bellwether
15
                    Plaintiffs be extended by five weeks (to January 24, 2025), as Defendants have already
16
                    lost 33 days (between April 19 and May 22) from an already-compressed eight-month
17
                    schedule for the completion of fact discovery for one-third of the bellwether pool. See
18
                    CMO 13 at n.2 (“[F]urther dismissals of bellwether-selected cases may disrupt and delay
19

20

21   2
      In addition, as the Court knows, Defendants sought relief in the form of an administrative motion when
     Plaintiffs missed the PFS submission deadline for 37 cases. Meanwhile, Plaintiffs unilaterally
22   accelerated cases for bellwether selection by selectively filing PFSs for certain cases early and then
23   selecting them as bellwethers. For example, Plaintiffs filed the Short Form Complaint and the PFS in
     Rodriguez—a case involving a completed suicide—on April 1 (the last date for bellwether eligibility)
24   and then selected it as a bellwether.
     3
25     In the meantime, Defendants will be prepared to replace D.D. with a fourth bellwether replacement
     case when they identify their other three replacement picks on May 22, in accordance with CMO 13. To
26   be clear, Defendants would exercise this replacement pick only if the Court does not grant their request
     for an additional strike.
27   4
       Contrary to Plaintiffs’ suggestion below, the Court has authorized the commencement of discovery
     only as to the now-eight “surviving proposed PI bellwethers.” CMO 13 at 4.
28                                                       4
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 1
                    the process of this MDL.”).5 Alternatively, the Court should assess the total delay caused
 2
                    by this disruption in the bellwether selection process in conjunction with the June CMC,
 3
                    after the bellwether replacement process is complete.
 4
            Plaintiffs’ counsel’s argument below that they “simply cannot make a representation that every
 5
     Plaintiff that Defendants wish to pursue as a bellwether will ‘go the distance’” is unacceptable. Either
 6
     their clients are prepared to prosecute their cases, or they are not. MDLs are not intended to be “park
 7
     and rides”; if any Plaintiff is unwilling to proceed “because the prospect of a trial (and one potentially
 8
     far away from home) is overwhelming,” they should make that known now and dismiss their case (if
 9
     they do not assert Lexecon), rather than remain in this MDL. By filing and continuing to prosecute their
10
     claims, Plaintiffs and their counsel certify that they have a good-faith factual and legal basis for their
11
     claims, and an actual case or controversy with Defendants that they intend to pursue. The fact that they
12
     are part of an MDL has no bearing on that requirement, whether they are selected as bellwether plaintiffs
13
     or not. Indeed, it was through filing hundreds of lawsuits on behalf of their clients that Plaintiffs’
14
     counsel were able to obtain the benefits of this MDL in the first place. Their abuse of that process
15
     should not be countenanced.
16
            Plaintiffs’ Further Position:
17
            Defendant’s assertion that Plaintiffs are manipulating bellwether selection such that
18
     extraordinary relief is called for is disingenuous and lacks merit. The reality is that voluntary
19
     dismissals6, along with Lexecon objections, are part and parcel of any MDL bellwether process. The
20
     bellwether selection stage constitutes an important inflection point in each client’s case. Sometimes, not
21
     unreasonably, clients may determine that they cannot proceed to trial—because their life circumstances
22

23   5
       The fact that Judge Kuhl ordered (over Defendants’ objection) a more compressed bellwether plaintiff
24   discovery schedule in the JCCP, as Plaintiffs observe, has no bearing on whether Defendants should be
     granted additional time to conduct discovery of the bellwether Plaintiffs in this MDL, when the Court’s
25   original trial schedule was premised on bellwether selections being finalized by April 19. Defendants
     address Plaintiffs’ false accusation that they have delayed Plaintiffs’ efforts at obtaining discovery in
26
     Section III below.
     6
27     Defendants did not oppose the dismissal with prejudice of Plaintiff B.S. o/b/o D.D. This is not
     surprising given such dismissals are to their benefit, and they will have a replacement pick regardless.
28                                                         5
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 1   may not permit the stress and strain of discovery, because the prospect of a trial (and one potentially far
 2   away from home) is overwhelming, or simply because they are young and scared. MDL leadership
 3   simply cannot make a representation that every Plaintiff that Defendants wish to pursue as a bellwether
 4   will “go the distance.” That said, MDL leadership has and will continue operating in good faith and do
 5   everything within their control to minimize the prospect of future dismissals.
 6          Second, Defendants' insinuation that Plaintiffs “unilaterally accelerated cases” as part of a self-
 7   serving strategy in the bellwether selection process lacks substance. Their argument centers on the fact
 8   that one of Plaintiffs' selections, Rodriguez, filed on the April 1, 2024 deadline, which they present as
 9   evidence of this alleged self-serving scheme. However, Defendants fail to note that the five other
10   Plaintiff picks filed a year prior to the deadline. Moreover, MDL leadership played no role in the timing
11   of the Rodriguez filing and had no communication with counsel for this Plaintiff about the case until
12   after the April 1 deadline when the case was being considered for the bellwether pool.
13          As to the relief sought by Defendants, the Court has already articulated processes that should
14   adequately protect Defendants’ interests. First, the Court has mitigated instability in the bellwether pool
15   by setting a May 17 deadline for assertion of Lexecon objections. Second, the Court has directed that
16   Defendants can make replacement picks by May 22. As Defendants acknowledge (albeit in a footnote),
17   they can and will be prepared to make all four replacement picks by that date. Third, Defendants are
18   already entitled to begin discovery on their replacement picks immediately upon selection on May 22.
19   (Defendants request this as “relief” but Plaintiffs already understand this to be the default—indeed,
20   Defendants have already begun serving voluminous discovery on the preexisting bellwether picks.)
21          Defendants’ additional requests for relief are unnecessary and disproportionate. Their request for
22   an additional strike would unfairly punish all MDL Plaintiffs because one Plaintiff has exercised their
23   right to seek dismissal of their case. Not only is there nothing untoward about that dismissal (which is
24   that Plaintiff’s right to seek under Rule 41, and which Defendants do not oppose), leveraging that
25   dismissal to punish Plaintiffs who had no control over that individual Plaintiff’s decision is deeply
26   inequitable. Defendants’ request to extend fact discovery likewise lacks a sound basis. The Court need
27   look no further than the JCCP to understand why. Bellwethers will not be selected in the JCCP until
28                                                        6
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 1   June 17, 2024, and yet the JCCP court has indicated it may hold a trial as early as mid-June 2025 (4
 2   months before the MDL). If Defendants can make that more abbreviated schedule work in the JCCP,
 3   there is no cause for added time in the MDL. Defendants’ complaint is particularly unjustified given
 4   their transparent attempts to delay Plaintiffs’ efforts at obtaining discovery, which have included an
 5   unwillingness to produce Snapshots and Defendant Fact Sheets for MDL bellwether plaintiffs even
 6   though Defendants are already obligated to do so in the JCCP, as set out further below. Relatedly,
 7   TikTok has rebuffed multiple requests for bellwether Plaintiffs’ user data in contravention of its
 8   obligations under recently enacted federal law.7 Plaintiffs reserve their right to raise such issues with
 9   Judge Kang and the Court at a future date.
10          B.      School District Plaintiffs
11          Bellwether Selection. Following the April 19 CMC, the SD Plaintiffs asserted Lexecon
12   objections in two of Defendants’ six SD picks. On April 29, 2024, Defendants identified six
13   replacement picks pursuant to CMO No. 13 (ECF 780 at 3). On May 6, 2024, the SD Plaintiffs notified
14   Defendants that three of the six replacement picks will not waive Lexecon and two replacement picks
15   will waive Lexecon. The SD Plaintiffs did not provide the position on Lexecon objection for the sixth
16   school district case, as was required by CMO No. 13, instead informing Defendants that the school
17   district will not be able to provide its position on Lexecon before May 10. After the final replacement
18   SD Plaintiff exercises its Lexecon rights, Defendants will then select their two replacement SD
19   bellwether cases from the remaining cases. Id.
20          Plaintiff Fact Sheets. As of May 9, 2024, there are 152 individual school district Plaintiffs in this
21   MDL. One hundred and one (101) SD Plaintiffs served PFSs by the respective deadline(s) set forth in
22

23   7
       On April 24, 2024, President Biden signed into law the Protecting Americans from Foreign Adversary
24   Controlled Applications Act (“the Act”). Section 2(b) of that Act states that TikTok “shall provide, upon
     request by a user of such application within the land or maritime borders of United States, to such user
25   all the available data related to the account of such user with respect to such application. Such data shall
     be provided in a machine readable format and shall include any data maintained by such application
26
     with respect to the account of such user, including content (including posts, photos, and videos), and all
27   other account information.”

28                                                         7
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 1
     the Implementation Order (ECF 731). Since April 1, 2024, 31 school districts have served PFSs. Ten
 2
     school districts failed to serve a PFS by the May 8, 2024 deadline set forth in the Court’s April 10, 2024
 3
     Order (ECF 748). Ten SD Plaintiffs’ PFSs are not yet due under the Court’s orders.
 4
            On April 15, 2024, the Parties each filed temporary sealing motions (see ECF 756, ECF 757)
 5
     regarding the submission of briefing on bellwether discovery pools, noting that the reasons for sealing
 6
     would be addressed in a forthcoming omnibus motion. The temporary sealing motions were
 7
     preliminarily granted on April 23, 2024 (see ECF 780, n.1). The Parties filed a stipulation extending the
 8
     deadline for the filing of omnibus sealing motions or stipulations to May 6, 2024 in accordance with the
 9
     Court’s Order Setting Sealing Procedures (ECF 341), see ECF 804, and Plaintiffs made the sealing filing
10
     on May 6, see ECF 811.
11
     III. Bellwether Discovery Coordination
12
            For an abundance of clarity, all references to Plaintiffs throughout Section III. refer to the PI/SD
13
     Plaintiffs or subgroups thereof.
14
            PI/SD Plaintiffs’ Position:
15
            As noted in the JCCP update below, under Judge Kuhl’s guidance, the parties finalized a
16
     Defendant Fact Sheet (“DFS”) and filed a Stipulation and Proposed Case Management Order to enter it
17
     on April 30th, attached here to as Exhibit C. Per that Proposed Order, DFSs are to be completed by
18
     Defendants by May 31 for any JCCP personal injury plaintiff who submitted, by May 1, a Plaintiff
19
     Preservation Form and/or User Account Confirmation and Consent Form8—over 400 plaintiffs.9 In
20
     addition, Judge Kuhl has ordered that Defendants provide account preservation “snapshots” for the 24
21
     personal injury plaintiffs selected for the JCCP bellwether pool within two days of their selection, by
22
     June 19th.
23

24
     8
25    The Plaintiff Preservation Form and User Account Confirmation and Consent Form have also been
     entered in the MDL (see ECF 269, 269-1; ECF 616).
26   9
       There is variation in the extent of DFS data Defendants must provide according to the timing of when a
27   Plaintiff provides these forms, as reflected in the footnotes of Exhibit C, but DFSs must be provided for
     all Plaintiffs who provided Preservation or Confirmation Forms by May 31, 2024.
28                                                        8
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 1          PI/SD Plaintiffs have met and conferred with Defendants seeking their agreement to provide the
 2   same for the twelve Personal Injury Plaintiffs selected as MDL bellwethers on a similar timeline, to
 3   promote efficient discovery and in keeping with the courts’ guidance that the JCCP court will address
 4   such standardized plaintiff-side discovery, as occurred with the PFSs and associated forms. Defendants
 5   have not yet agreed to do so, with some taking the position that Plaintiffs here must instead propound
 6   requests for production10 for the entire universe of bellwether Plaintiff-specific information they may
 7   ultimately seek, and then finalize meet and confer on same, as a prerequisite to obtaining even the same
 8   basic and highly relevant DFS and snapshot information that Judge Kuhl simply ordered be provided.
 9   Should Defendants refuse to adopt the procedure ordered by the JCCP to timely provide DFS and
10   snapshot data for the limited universe of twelve MDL bellwethers, Plaintiffs anticipate filing an
11   Administrative Motion seeking same in the coming days and have so advised Defendants.
12          Defendants’ Position:
13          Plaintiffs conflate the requirements of the bellwether selection process adopted by Judge Kuhl
14   with the requirements here. Judge Kuhl ordered Defendants to produce the DFS for eligible PI plaintiffs
15   in part because, under the JCCP’s random selection process, the parties can use such information to
16   argue representativeness of the bellwethers. Here, though, there is no bellwether-related need for a DFS.
17   Instead, this is plainly a discovery dispute that belongs before Magistrate Judge Kang.
18          Yet, since bellwether PI Plaintiffs were selected on April 19 and the Court opened discovery
19   with respect to those Plaintiffs’ cases, Plaintiffs have not propounded any discovery requests on
20   Defendants specific to those bellwether cases. The Parties first met and conferred on these recently-
21   raised discovery issues on May 8. Defendants have repeatedly explained to Plaintiffs that they will
22   produce relevant account captures for the PI bellwether Plaintiffs’ accounts, but that Plaintiffs need to
23   follow the Federal Rules of Civil Procedure and properly propound discovery requests seeking such
24   production. Certain Defendants expect to be in a position to produce such account captures before the
25
26   10
       While Plaintiffs maintain that RFPs should not be required for Plaintiffs to obtain DFS and Snapshot
27   data--which the JCCP court ordered be produced without this hurdle,--given Defendants’ position,
     Plaintiffs have propounded same to preserve their rights.
28                                                        9
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 1   30-day deadline. But Plaintiffs cannot supplant the requirements of Rule 34 through manufactured
 2   urgency.
 3          Defendant Fact Sheets are, in effect, written discovery under the FRCP. Had Plaintiffs served
 4   Rule 34 requests seeking production of the data in the JCCP DFS, Defendants may have been able to
 5   produce such data at the same time as they will produce JCCP DFS data, on May 31, 2024. Plaintiffs,
 6   however, did not even raise the possibility of such a production until it was too late for Defendants to
 7   include additional data in the production. Due to the burdens associated with producing this data,
 8   Defendants will not be able to produce it in the MDL until after the list of 12 MDL PI bellwether
 9   plaintiffs is finalized. But if Plaintiffs serve RFPs requesting that data, Defendants will respond to those
10   RFPs consistent with the Federal Rules and meet and confer with Plaintiffs.11
11          Plaintiffs have articulated no reason that this issue—which was inserted into this CMC Statement
12   on the day of filing and as to which the Parties clearly need to confer further—is an emergency requiring
13   expedited briefing and extraordinary relief. The requirements of Rule 34 should not be ignored.
14          Finally, Plaintiffs’ assertion in Section II.1.A. above that “TikTok has rebuffed multiple requests
15   for bellwether Plaintiffs’ user data . . . under recently enacted federal law” is factually inaccurate,
16   legally incorrect, and procedurally improper. TikTok is not in violation of the law, which in any event
17   does not create a private right of action and assigns exclusive authority to the Attorney General to
18   enforce. In the meantime, TikTok will be working with Plaintiffs and the other defendants on the
19   process for the production of user data in this MDL, as described above.
20

21   11
       As one example of the timing issues, for accounts first identified after February 27, 2024 and before
22   April 22, 2024, as the Meta DFS and the entered JCCP DFS implementation order reflect, Meta is only
     able to produce in the JCCP DFS data covering a recent 90-day period. Producing older data for
23   accounts identified after February 27, 2024, will require substantial effort and time (likely two months
     or more). One of the PI bellwether cases was not filed until April 1, 2024, and Meta expects that
24   Plaintiffs will ask for that historical data that has not yet been extracted. To the extent other of the PI
25   bellwether cases were also filed more recently, Meta will need to extract all historical data at the same
     time to minimize burdens. Similarly, for Defendant Snap, producing certain older DFS data requires
26   substantial time and effort and cannot be accomplished by May 31, 2024. To the extent Plaintiff also
     seek other Plaintiff-specific data, it would need to be pulled at the same time to minimize burden.
27   Extracting historical data is a hugely burdensome endeavor regardless of the amount of data points being
     extracted, and it is both extremely inefficient and very costly to do it in a piecemeal fashion.
28                                                           10
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 1   IV. YouTube: Amendments to Complaints that Add New Defendants
 2          For an abundance of clarity, all references to Plaintiffs throughout Section IV. refer to the PI/SD

 3   Plaintiffs or subgroups thereof.

 4          YouTube’s Position:

 5          Following the hearing on bellwether selection and the most recent status conference before this

 6   Court, Plaintiffs’ counsel sent correspondence to certain Defendants requesting to amend multiple cases

 7   by, among other things, adding parties. In particular, Plaintiffs represented by Beasley Allen seek to

 8   amend approximately 14 personal injury cases to add the YouTube Defendants (“YouTube”), even

 9   though one of those cases had already been selected by the Court as a bellwether and the Plaintiffs in

10   several of the other cases did not allege any injury from YouTube in their short-form complaints or in

11   their plaintiff fact sheets, and some had submitted fact sheets stating they had not used YouTube.12

12   Plaintiffs did not even provide notice to YouTube of these proposed amendments, and they were only

13   brought to YouTube’s attention by the existing Defendants in those cases.

14          Pursuant to Case Management Order No. 13, the Court held that it “must review the propriety of

15   each motion to amend an SFC on a case-by-case basis.” ECF 780 at 3. Given that bellwether discovery

16   cases have now been selected and additional bellwether cases will be selected in short order, the Court

17   drew a material distinction between (1) motions to amend that simply clarify an existing short-form

18   complaint and (2) those that seek to add a defendant. Id. To effectuate that guidance, YouTube seeks to

19   have the Court adopt a straightforward protocol that would give all parties the ability to consider all

20   proposed amendments, interpose reasonable objections, and have any disputes resolved by the Court in a

21   timely manner that minimizes the need for elaborate motion practice—all without changing any of the

22   legal standards that govern whether any given amendment should actually be allowed.

23          YouTube proposed such a protocol, and then met and conferred with Plaintiffs to discuss, but

24   Plaintiffs have refused to agree to it. Instead, Plaintiffs have taken the position that under Fed. R. Civ.

25
     12
       These cases are Clevenger, No. 22-cv-6457; Copelton, No. 22-cv-6165; Melton, No. 22-cv-6627;
26
     Murden, No. 22-cv-5889; Amacker, No. 22-cv-6150; Craig, 22-cv-05890; Estevanott, No. 22-cv-06080;
27   Haywood, No. 22-cv-06429; Isaacs, No. 22-cv-05885; Lombardo, No. 22-cv-07092; Naber, No. 22-cv-
     06832; Newberry, No. 22-cv-06460; Ortiz, No. 22-cv-06458; and Thacker, No. 22-cv-06497.
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 1   P. 15, they may unilaterally add non-party Defendants—no matter the circumstances and even after
 2   bellwether selection—so long as they have consent of the existing Defendants to the case, without
 3   giving either notice to the proposed to-be-added-party or an opportunity for the to-be-added-party to
 4   intervene and oppose the amendment under Rule 24. That is neither efficient nor fair. Particularly given
 5   the complex interplay between bellwether consideration and the amendment process in this MDL, a
 6   Defendant that is party to the MDL should be given notice and an opportunity to intervene and object to
 7   proposed amendments that seek to add that Defendant to a given SFC.
 8          This principle is especially important for cases previously selected for the bellwether discovery
 9   pool. Here, one of the cases where Plaintiffs now seek to add the YouTube Defendants (Clevenger) is a
10   personal injury case already selected by the Court as a bellwether. It would be prejudicial to allow
11   Plaintiffs to change the defendants in such a case, after Defendants selected it based in part on the
12   overall composition of the MDL personal injury cases and the reasonable assumption that each of those
13   cases involved only the Defendants that Plaintiffs had actually named. Indeed, the Court held a hearing
14   on April 19 to discuss issues that may impact the selection process, yet this proposed amendment was
15   never raised.
16          Plaintiffs are also wrong that the Federal Rules prevent a to-be-added Defendant from
17   challenging an amendment. To the contrary, Rule 24 gives a to-be-added Defendant precisely that right.
18   Courts routinely grant motions to intervene so that to-be-added Defendants can challenge amendments
19   that seek to name them as a party. See, e.g., Wang v. Zymergen Inc., No. 21-CV-06028-PCP, 2024 WL
20   576306, at *2 (N.D. Cal. Feb. 13, 2024) (applying rule and recognizing that there are certain arguments
21   against amendment, such as “delay and prejudice arguments,” that “could not be raised in a subsequent
22   motion to dismiss”); Auto-Owners Ins. Co. v. Tabby Place Homeowners Ass’n, Inc., No. CV421-346,
23   2022 WL 17327497, at *1 (S.D. Ga. Nov. 29, 2022) (applying rule). YouTube thus seeks not to avoid
24   the Federal Rules, but to implement them, while avoiding the inefficiency and delay of having to burden
25   the Court with formal motions practice under Rule 24 for each of Plaintiffs’ objectionable proposed
26   amendments.
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 1          To be clear, YouTube does not object to all of Plaintiffs’ proposed amendments. But there are a
 2   smaller subset of proposed amendments to which YouTube does object, including on grounds of undue
 3   delay, prejudice, and futility. This includes cases where the Plaintiff has already asserted under oath (in
 4   connection with the Plaintiff Fact Sheet and appendices) that he or she (1) has not used YouTube and/or
 5   (2) claims no harm from YouTube. For instance, Plaintiff in Clevenger filed her action in August 2022.
 6   YouTube was not named. Plaintiff then submitted a short form complaint on April 4, 2023; Plaintiff
 7   identified no YouTube usage contributing to her injuries. On March 13, 2024, Plaintiff in Clevenger
 8   uploaded a PFS and a signed declaration in which she asserted she had not used YouTube. That was
 9   the operative PFS when Clevenger was selected by Defendants as a bellwether. On May 7, 2024,
10   Plaintiff uploaded a First Amended PFS and signed declaration, again asserting she had not used
11   YouTube. But on May 8, 2024, after receiving Defendants’ exchange of this Joint Statement, Plaintiff
12   uploaded a Second Amended PFS alleging YouTube usage for the first time and that her “peak”
13   YouTube usage exceeds her peak usage of any other Defendants’ platform.13 YouTube has a right under
14   the Federal Rule 24 to intervene in such a case for the purposes of opposing amendment, but it wishes to
15   spare the Court and the parties the burden of having to file formal motions in each such case.
16          Instead, for efficiency, to avoid piecemeal motions to intervene under Rule 24, and to effectuate
17   CMO No. 13, YouTube respectfully asks the Court to adopt the [Proposed] Order Governing
18   Amendments to Short-Form Complaints for Filed Cases, attached hereto as Exhibit B. The proposed
19   Order considers the Court’s guidance in CMO No. 13 regarding review of proposed amendments.
20   YouTube believes the proposed Order creates an orderly and fair process that will reduce the burden on
21   the parties and the Court without changing any substantive standards for amendment. This proposal
22   would create efficiencies because the Court would not have to address separate motions to intervene in
23   each case where an amendment seeks to add a new Defendant. Instead, Plaintiffs would simply give
24
     13
25     Plaintiffs’ contention that YouTube was somehow on notice that the Plaintiff in Clevenger may seek
     leave to add new parties after bellwether selection, merely because she identified a YouTube account in
26   a user account preservation form, makes no sense. Plaintiff in Clevenger represented under oath that she
     did not use YouTube or suffer any harm from YouTube. Her argument undermines the very purpose
27   behind the heavily-negotiated requirement for Plaintiffs to submit SFCs, PFSs, and platform-specific
     appendices.
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 1   notice to all Defendants (including non-party Defendants) of any proposed amendment that would add a
 2   new party, and, in the absence of consent from all Defendants (including the to-be-added Defendant).
 3   Plaintiffs would explain the basis for the amendment to the Court, any objecting Defendant would have
 4   the ability to oppose, and the Court would rule on the amendment under the standards provided by the
 5   Federal Rules. This process in no way prejudices Plaintiffs, and it will create greater order, efficiency,
 6   and coherence to the amendment process.
 7          PI/SD Plaintiffs’ Position:
 8          The process for amending SFCs prior to a Court-ordered deadline is governed by Rule 15(a) of
 9   the Federal Rules of Civil Procedure, under which Plaintiffs may amend their complaints either with
10   leave of court or by consent of the named Defendants. See Fed. R. Civ. P. 15(a)(2) (a party may amend a
11   pleading “with the opposing party’s written consent or the court’s leave”). Consistent with Rule 15,
12   Plaintiffs who intend to amend their SFCs have been requesting consent from the named Defendants in
13   their cases and, in many of those cases, have obtained that consent and filed amended SFCs.
14          Only YouTube has raised objections with this otherwise routine Rule 15 procedure. As is often
15   the case in mass tort MDLs, as more specific information about Plaintiffs’ cases has come to light during
16   the PFS process, some Plaintiffs have identified bases to include additional Defendant(s). The PFS was
17   in fact designed to more fully flesh-out the extent to which Plaintiffs have used each platform and its
18   connections to the harms they have suffered, so it is unsurprising that some Plaintiffs have now
19   identified platform usage that warrants amending their SFCs to name additional Defendants. This is
20   particularly the case given that many Plaintiffs may have started using these products years ago at quite
21   young ages and may no longer have access to some of their accounts, and in any event have far less
22   information regarding their account usage at this stage than Defendants do.
23          YouTube seeks to disrupt the efficiency with which this standard amendment process has thus
24   far proceeded by adding a hurdle beyond the requirements of Rule 15, the sole purpose of which is to
25   give unnamed Defendants the right to prevent Plaintiffs from amending their SFCs without leave of
26   court, even when the named Defendants consent. Rather than simply amending by consent of all named
27   parties as Rule 15(a)(2) provides, this would result in Plaintiffs being forced to file motions for leave to
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 1   amend when a yet-to-be-named Defendant objects to a proposed amendment. Far from offering
 2   efficiency, YouTube’s proposal will serve only to clog up the amendment process.
 3          YouTube offers no authority for the extraordinary relief it requests. It claims its proposal
 4   effectuates guidance in CMO 13, but CMO 13 denied Defendants’ request for a global prohibition on
 5   amending SFCs in proposed bellwether cases and recognized that doing so would abrogate the standard
 6   governing amendments to pleadings. ECF 780 at 3. This is consistent with Ninth Circuit guidance that
 7   MDL courts may not impose burdens on amending pleadings beyond the traditional standards set forth
 8   under Rule 15. See In re Korean Air Lines Co., Ltd., 642 F.3d 685, 701 (9th Cir. 2011) (“By denying
 9   leave to amend on the basis of the court’s prior CMO, the court applied an incorrect legal standard to
10   Plaintiffs’ motion. Such an error constitutes an abuse of discretion.”). YouTube’s request would impose
11   such additional burdens, contrary to Ninth Circuit authority.14
12          YouTube has likewise failed to articulate any substantial prejudice that justifies the inefficiencies
13   and burdens on amendments that its proposal would impose. YouTube claims that some undefined
14   subset of Plaintiffs in a handful of cases it identifies as seeking to add YouTube did not include
15   YouTube usage in their PFSs, but in fact the operative PFS in each of the cases does include substantial
16   YouTube usage. While the Clevenger PFS initially did not identify YouTube usage, the Plaintiff had
17   identified a YouTube account in Plaintiff Preservation Forms served on YouTube both well before and
18   after serving her initial PFS, putting YouTube on notice, and promptly amended her PFS to include
19   YouTube upon becoming aware of the oversight. Discovery on the bellwether Plaintiffs remains in its
20   infancy, undercutting any claim of prejudice, but in any event, YouTube is already in possession of
21   much more extensive data on Plaintiffs’ accounts than Plaintiffs are.
22

23   14
       YouTube cites two inapposite cases, where the plaintiff apparently did not obtain consent of the
24   named defendants and, instead, moved the court for leave to amend. Wang v. Zymergen Inc., No. 21-
     CV-06028-PCP, 2024 WL 576306, at *2 (N.D. Cal. Feb. 13, 2024); Auto-Owners Ins. Co. v. Tabby
25   Place Homeowners Ass’n, Inc., No. CV421-346, 2022 WL 17327497, at *1 (S.D. Ga. Nov. 29, 2022).
     The courts permitted unnamed Defendants to intervene and join in the briefing. Wang, 2024 WL
26
     576306, at *2; Auto-Owners Ins. Co., 2022 WL 17327497, at *1. Neither case allowed an unnamed
27   defendant to intervene and oppose an amendment where the plaintiff had the consent of all named
     defendants, the relief YouTube now seeks.
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 1          YouTube’s suggestion that the bellwether process was skewed because a limited number of
 2   Plaintiffs have since sought to add it as a Defendant—a situation for which no other Defendant has
 3   sought a departure from the Federal Rules—is likewise unfounded. If anything, to the extent that the
 4   number of claims against YouTube has increased, that would suggest that a larger portion of bellwethers
 5   should likewise involve it, an outcome not sought by YouTube.
 6          None of YouTube’s arguments have merit, but they are also inapposite, because the Federal
 7   Rules do not provide unnamed defendants the right to vet the merits of plaintiffs’ claims as a condition
 8   to amending an SFC. See Rule 15(a)(2) (plaintiffs may amend “with the opposing party’s written
 9   consent”) (emphasis added). This is true regardless of whether Defendants have selected one of those
10   cases as a bellwether. See ECF 780 at 3 (“the Court must review the propriety of each motion to amend
11   an SFC on a case-by-case basis”). In summary, YouTube seeks extraordinary relief that would slow the
12   process for amending SFCs, impose additional burdens on Plaintiffs, and grant YouTube rights beyond
13   those provided under the Federal Rules. The relief requested by YouTube is neither warranted nor
14   appropriate and should be denied.
15   V. Discovery Management Conference Statement
16          The Parties’ Discovery Management Conference Statement is being filed on May 10, 2024. The
17   Parties will supply a copy to Judge Gonzalez Rogers’s chambers by email after the filing.
18   VI. JCCP Status Update
19          For an abundance of clarity, all references to Plaintiffs throughout Section VI. refer to the PI/SD
20   Plaintiffs or subgroups thereof.
21          On April 24, 2024, Judge Kuhl held a CMC and an informal conference with the parties to
22   discuss the categories for random selection of the PI bellwether discovery pool in the JCCP. Judge Kuhl
23   will randomly select 24 PI plaintiffs (from the pool of plaintiffs who have submitted PFSs by May 16,
24   2024) for bellwether discovery on June 17, 2024. To allow the parties to assess those plaintiffs for
25   representatives of the overall plaintiff population, Judge Kuhl ordered Defendants to produce account
26   preservation snapshots for those plaintiffs by June 19, 2024. By June 21, 2024, plaintiffs will advise
27   Defendants and the Court if any plaintiff from the bellwether discovery pool selections will not be going
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     forward with their case and, on June 25, 2024, the parties will file briefs addressing any plaintiff selected
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     for the bellwether discovery pool. The Court will hear arguments on the issue of whether any bellwether
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     discovery pool plaintiff should be excluded as an “outlier” on June 27, 2024. Any plaintiffs found to be
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     “outliers” will be replaced via another random draw on that date. In December 2024, Judge Kuhl will
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     narrow the bellwether pool to 10-12 cases for trial. Judge Kuhl set a deadline of December 6, 2024, for
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     the completion of bellwether fact discovery, with expert discovery to follow the same timeline as expert
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     discovery in the MDL.
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            Also at the April 24, 2024 CMC, Judge Kuhl ordered the parties to meet and confer to discuss
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     processes for addressing PFS deficiencies, including dismissals.
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            The parties also reached agreement on a stipulated implementation order for Defendant Fact
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     Sheets. On April 30, 2024, the parties filed their Stipulation and Proposed Case Management Order for
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     implementation of the personal injury Defendant Fact Sheet (“DFS”) which awaits Judge Kuhl’s
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     signature.
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            Finally, Judge Kuhl heard continued argument on Defendants’ motion to strike third-party
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     predator, CSAM, and “challenges” allegations from the JCCP Personal Injury Plaintiffs’ Master
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     Complaint and from certain short-form complaints on April 24, 2024.
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            The JCCP’s next status conference is May 13, 2024, and Judge Kuhl will hear argument on
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     Defendants’ Demurrer and motion to strike Plaintiffs’ School District Complaints the same day.
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 1                                              ATTESTATION
 2          I, Previn Warren, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the

 3   filing of this document has been obtained from each signatory hereto.

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 5   Dated: May 10, 2024

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